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                                 Video Clip #3
                                   Transcript




        EVAN SCHOTTENSTEIN: Because it’s so popular and they said

  we’re sorry but we’re giving you zero.



        BEVERLEY SCHOTTENSTEIN: What you could of get -- how much

  did you offer to give?



        BOBBY SCHOTTENSTEIN: Now he’s content



        EVAN SCHOTTENSTEIN: Half a million. And I asked you, and

  you said, go for it. You said go try it in 10. Uh huh. I’ll --



        BEVERLEY SCHOTTENSTEIN: Oh yeah, so uh like you didn’t get

  it -- but you didn’t get it.



        CHANA SCHOTTENSTEIN: Ask if [unintelligible].



        EVAN SCHOTTENSTEIN: So then, right before New Year’s –

  [Nanny] are you there?



        BEVERLEY SCHOTTENSTEIN: Yeah, I’m here.




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        EVAN SCHOTTENSTEIN: Right before New Year’s, the market

  came down, and they said, you know what? What we- we could put

  you on a wait list, and if something opens up, we’ll get you in.

  So I got you on the waiting list. I got you on the waiting list

  for it, and now they said that we could get you into it. But the

  money is not going to be invested I don’t think until March --

  you know?



        BEVERLEY SCHOTTENSTEIN: Ok



        EVAN SCHOTTENSTEIN: And



        CHANA SCHOTTENSTEIN: Ask him --



        EVAN SCHOTTENSTEIN: It’s a very good one, it’s one --



        BEVERLEY SCHOTTENSTEIN: I know it is. I, I know it is.



        EVAN SCHOTTENSTEIN: It’s the future, the future is

  technology companies.



        BEVERLEY SCHOTTENSTEIN: I’d even put more into it if I had

  to. Ok, let me --



        AVI SCHOTTENSTEIN: Nan -- but Nanny, let --




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        BEVERLEY SCHOTTENSTEIN: I’ve got, I would put more into it

  if I could.



        AVI SCHOTTENSTEIN: Nanny, let me ask you something that --



        CHANA SCHOTTENSTEIN: Wait, I’ll ask you to stop for a

  second –



        AVI SCHOTTENSTEIN: Ephraim --




                                TAB 130, PAGE 3
